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                             Exhibit 35
                  Defendant Trial Exhibit 26
         The Truth about Abortion Procedures Brochure
                                                                        Case: 3:16-cv-50310 Document #: 275-38 Filed: 12/18/23 Page 2 of:=:tt:'.'lt:'.'L.lt!U::iLaLt:'.'::i,
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                                                                                                                                         rs Conti nuouslyreporti ngareas Year No.No. (%)Rate Ratiol 997'
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                                                                                                                                                                                                                                       *885,624(97.3 )17. 72771998884,273870,184(98.4      )17.326
  Sharp Curettage (D&C)                                                                                     to induce labor so that the dead baby can be de-                                                                          78984 7,283( 98.3) 16. 92582000857,4 7 5836,360( 97 .5) 16.2
 Dilation and curettage abortions are rare, ac-                                                             livered. As would be expected, the drug causes                                                                            ;3,485833,183(97.6)16.12502002854,122835,122(97.8)H
                                                                                                            severe bleeding and at times a suction aspiration                                                                         1848,163829,071(97.7)16.02452004839,226819,353(97.6.
 counting for two to three percent of all abortions•                                                                                                                                                                                  )05820,151809,881(98.7)15.62362006846,181835,134(93
 (although they used to represent almost 25% of                                                             procedure may be needed to complete the abor-                                                                             '.362006Residence0ccurrence%obtainedbyoutofstateresident
 abortions when abortions were first legalized).
 D&C abortions are performed on babies in the
                                                                                                            tion.
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 first trimester of life. 7
                                                                                                            What Does It All Mean?                                                                                                    610,8'.?68. 71063.4 Arkansas5, 1399 .11254, 9888.812214. oc,
                                                                                                           The truth about abortion is that it is a terrible act                                                                      .;t0llil..015711,04811.01560.4Connecticutl4,35120.43431
 In a D&C abortion the first step is to dilate (DJ the                                                                                                                                                                                03373.0Delaware3, 70120.93094,80427 .140128.2D istrictof
                                                                                                           that kills a living baby. Many in the medical field                                                                        12,15014.72522,69218.431654.3Floridatt95,58627.3404G
 cervix so a curette (CJ, a metal rod with a handle
                                                                                                           have perverted their efforts from saving babies                                                                            76613.618730,55015.u«J'-'-tfr!i i3, 98415.72103, 990l
 on one end and a sharp loop on the other, can be                                                                                                                                                                                     .;3ldahol, 9546.6811,249 25 7 . 1ois41,24915.422846,'
                                                                                                           into killing babies. They make abortion seem easy,


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 inserted. The sharp loop of the curette is used to                                                                                                                                                                                   '.578.7lndianall,3838.81 31 , 1 .. .21204.0!owa**5,9571
                                                                                                           but the end result is always a dead baby.
 scrape ttie baby off of the uterus wall.                                                                                                                                                                                              2211.516616.7J<ansas5,89510.614411,17320.127348.2J<e1
 Dilation and Evacuation (D&E)                                                                               1. Centers for Disease Control and Prevention (CDC), Morbidity and Mortality Weekly Report,Abortion Survei/lonce
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 babies (2nd and 3rd trimester) that would not fit                                                           Women_0btaining_Abortions.pdf accessed 8/20/2014.                                                                        ,6151 180         6 93             nal,     10.9   2,    11.
 t~r pUgh vacuum. tubes. In this procedure, the cer-                                                         3. Radle! K.Jones, Mia R. S. Zolna, Stanley K. Henshaw and lawrenre B. finer Perspectives MSexual and Reproduc-
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 ViJ</iIJ:IIlated. and then forceps are inserted into
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                                 Case: 3:16-cv-50310 Document #: 275-38 Filed: 12/18/23 Page 3 of 3 PageID #:6061
                                                                                                                                                    FW-006
In the United States abortion is not a topic often          Almost all abortions performed in the United              Abortions by Method
spoken of openly. It is hidden behind the doors of          States kill a baby after the heart has started
abortion clinics and whispered about among fami-            beating. 2•13 The majority of babies are aborted af-
1ies and women in crisis. The reason for the silence        ter seven weeks of gestation (nine weeks LM P)'
is simple: Abortion is a terrible act. The methods          when the baby has formed fingers and toes and
are gruesome, and the results are a dead baby and           has started moving. 15•16 Over 13,000 babies in the
a wounded woman. The following information is               U.S. are killed each year after 21 weeks of gesta-
provided so that you can make an informed stand             tion ( from the late second trimester to the end
and help others avoid a horrible mistake.                   of the third trimester).' Of these 13,000 babies,
                                                            many would have been able to survive outside
The "Rare" Abortion Myth                                    their mother's womb. 14
Abortion may not be talked about much, but the
impact has been felt by the entire U.S. population.          Methods of Induced Abortions                                                                    ■ Curettage
                                                                                                                                                             ■ Intrauterine
Nearly one in four babies are killed by abortion'           The majority of abortions are performed by "cu-                                                  Ill Medical
and more than a third of all women in the United            rettage" (scraping with instruments). Medical                                                    ■ Other

States have had or will have an abortion during             abortions are performed by the administering of
                                                                                                                      Curettage
their lifetime.' This means in a typical class of           drugs. Medical abortions have increased consider-         Curettage procedures include vacuum aspiration,
25 children, eight are missing because they were            ably since the legalization of drugs such as RU-          sharp curettage, and dilation and evacuation pro-
killed by abortion. It also means in a room of ten          486.3 Intrauterine abortions are those caused by          cedures.1 Each procedure is different and is used
women, three or four will have had an abortion.             the implantation of an intrauterine device. These         depending on the physician and the age of the
                                                            devices are often used as contraceptives but can          baby.
In the United States alone there are at least 1.2
million babies killed by abortion every year. 3 Teen-       also be used to provide abortion. Other types of          Vacuum Aspiration
age abortion rates are on the rise with the most            abortion include hysterotomy/hysterectomy pro-
                                                            cedures on pregnant women.                                Vacuum aspiration was
recent data showing 27% of al I teen pregnancies                                                                      first used and perfected to
end in abortion. 12                                                                                                   provide abortions in China
                                                                                                                      in 1958.4 Vacuum aspira-
                                                                                                                      tion was developed as an
Abortions by Weeks After Conception                                                                                   alternative to sharp curet-
                                                                                                                      tage abortions for babies
   <7Wks.                                                                    Baby's Heart is Beating                  in their first trimester.
                                                                                                                      Vacuum aspiration abortions are performed by
    7Wks.                                                       The fingers and toes begin to form                    inserting a cannula (a plastic tube) through the
    8Wks.                                               The baby begins spontaneous movement                          cervix into the womb. A pump attached to the
                                                                                                                      other end of the tube is used to pull the baby
 9-lOWks.                                                 The baby's eyelids and hands can close                      through the tube. Often the baby is too large to
                                                                                                                      fit through the tube. The suction will then pull
.1-12 Wks.                                       The baby is now able to "practice" breathing                         the baby into pieces, which have to be identified
                                                                                                                      afterward to ensure the entire baby has been re-
.3-15 Wks.                     Facial expressions may resemble the parents' expressions                               moved. Sometimes the tube will not be able to
                    ·. The baby may suck her thumb, turn somersaults and firmly grip                                  dismember the baby and then he/she will have
.6-20Wks.
                                                                                                                      to be pulled out using forceps. When forceps are
 >21 Wks.                       Mom may feel the baby kick, turn, punch, jump or hiccup                               used, the baby may have died in the womb or may
                                                                                                       Reference 19   be left to die in the suction bottle. 5
           0.0%       5.0%      10.0%      15.0%        20.0%    25.0%    30.0%
